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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


UNITED STATES OF AMERICA,                        §
                                                 §
         Plaintiff,                              §
                                                 §
   v.                                                    Cr. No. 4:21cr 009 GCH
                                                 §
ROBERT T. BROCKMAN,                              §
                                                 §
         Defendant.                              §
                                                 §
                                                 §


 UNITED STATES’ REPLY TO DEFENDANT’S PARTIAL OPPOSITION TO UNITED
  STATES’ MOTION FOR DISCOVERY ORDER UNDER RULE 17(C) AND 45 CFR
                            164.512(e)(1)(i)


         The United States respectfully replies as follows. The government’s request is modest.

Far from engaging in a “fishing expedition,” its goal is merely to seek and acquire evidence

relevant to the issue before the Court. The government submits that relevant evidence

encompasses more than selected records from the medical professionals chosen by Defendant.

As the government’s experts stated in their declarations, examination of Defendant’s full medical

history is necessary to perform a thorough evaluation of Defendant’s competency. See Govt

Motion for Discovery, Dk. No 26, Exhibits 2 and 3.

         Defendant’s reliance on United States v. Klat for the proposition that government’s

motion for an Order under R. 17(c) should be denied is misplaced and misleading. In Klat the

Court denied a defendant’s motion for subpoenas under Fed. R. Crim. P. 17(b) (relating to

indigent defendants) for an involuntary commitment hearing under 18 U.S.C. § 4245, for lack of

relevance. United States v. Klat, 180 F.3d 264 (table opinion) 1999 WL 301320 (5th Cir. Apr.

27, 1999). The Klat holding says nothing to contradict the government’s subpoena authority

under Rule 17 to bring relevant evidence to the Court’s attention in a pre-trial hearing.


 GOVERNMENT’S REPLY TO DEFENDANT’S
 PARTIAL OPPOSITION TO UNITED STATES’
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Moreover, the government here simply seeks an Order under Rule 17(c) to compel witnesses to

produce relevant evidence well before the scheduled competency hearing, permitting ample time

for the government’s experts to adequately review and analyze this evidence in preparation of

their examination of Defendant and their testimony – not at all the situation presented in Klat.

       Regarding the government’s request for “administrative records” from Baylor College of

Medicine, the government submits that the evidence sought is relevant to these proceedings. For

these purposes, relevant evidence properly includes evidence of Defendant’s business acumen,

conduct, behavior, and professional and personal relationships. Mata v. Johnson, 210 F.3d 324,

332-34 (5th Cir. 2000)(error to forbid parties from presenting “other evidence relevant to
question of competency”). This is especially true when there is substantial evidence that

Defendant’s claims of mental deterioration are exaggerated. See Govt Motion for Discovery, Dk.

No 26 pp10-11. Defendant has a long-standing financial relationship with Baylor College of

Medicine, which is also the medical institution where all of his chosen medical professionals

practice. The juxtaposition of these facts lends probative value to the evidence sought.

       Finally, Defendant’s proposed order—allowing early production of the medical records

that support his claims, while delaying production of other medical records until the day of the

hearing - will deprive the examining experts of the data they need to prepare for their

evaluations, resulting in either a one-sided presentation of the facts or further delay to give the

experts time to review late-produced material.




GOVERNMENT’S REPLY TO DEFENDANT’S
PARTIAL OPPOSITION TO UNITED STATES’
MOTION FOR DISCOVERY ORDER UNDER RULE          2
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       Accordingly, the government respectfully requests the Court to sign and enter its

Proposed Order, under Fed. R. Crim. P. 17(c) and 45 CFR § 164.512(e)(1)(i), as submitted in its

original Motion.




Respectfully submitted this 11th day of February 2021,

                                                    DAVID A. HUBBERT
                                                    Acting Assistant Attorney General


                                                    s/ Corey J. Smith
                                                    COREY J. SMITH
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                                                    Department of Justice
                                                    Tax Division

                                                    Attorneys for United States of America




GOVERNMENT’S REPLY TO DEFENDANT’S
PARTIAL OPPOSITION TO UNITED STATES’
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                                  Certificate of Service


I the undersigned do hereby certify that on the 11th day of February, 2021, I
electronically filed the foregoing with the Clerk of Court using the ECF electronic filing
system, which will send notice of electronic filing to Defendant’s counsel of record.

                                                              /s/ Corey J. Smith
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GOVERNMENT’S REPLY TO DEFENDANT’S
PARTIAL OPPOSITION TO UNITED STATES’
MOTION FOR DISCOVERY ORDER UNDER RULE         4
17(C) AND 45 CFR 164.512(e)(1)(i)
